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    14   SENDAI NIKON CORPORATION, and NIKON INC.
    15   [Caption continued on following page]
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    17                             UNITED STATES DISTRICT COURT
    18                           CENTRAL DISTRICT OF CALIFORNIA
    19                                       WESTERN DIVISION
    20
    21   CARL ZEISS AG and ASML                    Case No. 2:17-cv-07083 RGK (MRWx)
         NETHERLANDS, B.V.,
    22                                             JOINT STIPULATION AND
                               Plaintiffs,         [PROPOSED] ORDER RE: TRIAL
    23                                             DISCLOSURES
                v.
    24                                             Hon. R. Gary Klausner
         NIKON CORPORATION,                        Hon. Michael R. Wilner
    25   SENDAI NIKON
         CORPORATION, and NIKON
    26   INC.,
    27                         Defendants.
    28
         Case No. 2:17-cv-07083-RGK (MRWx)
         JNT STIP RE TRIAL DISCLOSURES
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         AG and ASML NETHERLANDS B.V.
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     1          Pursuant to Civil Local Rules 7-1 and Federal Rule of Civil Procedure 29,
     2   Plaintiffs Carl Zeiss AG and ASML Netherlands B. V., and Defendants Nikon
     3   Corporation and Nikon Inc., through their counsel of record, hereby stipulate and
     4   agree as follows, subject to the approval of the Court:
     5   WILL-CALL LIVE WITNESS LIST
     6          The parties will exchange a good faith list of witnesses they intend to call live at
     7   trial by 5 p.m. on October 29, 2018.
     8   OPENING DEMONSTRATIVES
     9          The parties will exchange demonstratives and an identification of exhibits to be
    10   used in opening statements by 5:00 p.m. three calendar days before opening
    11   statements. The demonstratives provided should be a color representation in PDF,
    12   JPEG, or other commonly used format. However, for video or animations, the party
    13   seeking to use the demonstrative will provide the demonstrative on a DVD or CD or
    14   via FTP in .MPG, .AVI, or other commonly used format in order to make the video or
    15   animations reasonably accessible. The parties will serve objections to the use of such
    16   demonstratives and exhibits by 9:00 p.m. three calendar days before opening
    17   statements. The parties will meet and confer regarding any objections no later than
    18   12:00 p.m. (Noon) two calendar days before opening statements. If good faith efforts
    19   to resolve objections to demonstratives and exhibits fail, the objecting party will file
    20   with the Court written objections no later than 8 a.m. one calendar day before opening
    21   statements. The party seeking to use the demonstratives and exhibits will file with the
    22   Court a response to the written objections no later than 3:00 p.m. one day before
    23   opening statements. The requirement of this paragraph to disclose demonstratives and
    24   exhibits does not require the parties to disclose blow-ups or highlights of exhibits that
    25   were properly disclosed for openings, so long as the exhibit was identified as an exhibit
    26   to be used in opening statements.
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     1   WITNESS DEMONSTRATIVES1
     2          Each party will provide to the other party, by witness, any demonstratives and a
     3   list of the exhibits to be used during the party’s direct witness examination with any
     4   witness no later than 5:00 p.m. three calendar days before their intended use. The
     5   demonstratives provided should be a color representation in PDF, JPEG, or other
     6   commonly used format. However, for video or animations, the party seeking to use
     7   the demonstrative will provide the demonstrative on a DVD or CD or via FTP in
     8   .MPG, .AVI, or other commonly used format in order to make the video or
     9   animations reasonably accessible. The demonstratives will be provided in the order in
    10   which they are intended to be shown. The disclosure of exhibits need only be a list of
    11   the exhibit numbers by witness. Any objections shall be served no later than 9:00 p.m.
    12   three calendar days before the witness is to be called, and the parties will meet and
    13   confer at 7:00 p.m. two calendar days before the witness is to be called. If any of the
    14   demonstratives change after the deadline or if exhibits are added after the deadline, the
    15   party intending to use the demonstrative or exhibits will promptly notify the opposing
    16   party of the changes. If good faith efforts to resolve the objections fail, the objecting
    17   party shall file with the Court written objections no later than 8 a.m. one day before
    18   the witness is to be called. The party seeking to use the demonstratives and exhibits
    19   shall file with the Court any response to the written objections no later than 3:00 p.m.
    20   one calendar day before the proposed use of those demonstratives or exhibits. This
    21   provision does not apply to demonstratives created during testimony or to blow-ups of
    22   or highlights on exhibits whose use is otherwise not objected to, so long as the exhibit
    23   was identified as an exhibit to be used for that particular witness. This provision also
    24   does not apply to exhibits used solely for impeachment during cross-examination of a
    25   witness.
    26
         1
    27    The parties agree to waive the requirements of L.R. 16-3 to the extent it requires the
         exchange of demonstratives “at least eleven (11) days before trial.”
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     1   DESIGNATED TESTIMONY
     2          Each party will provide the other party a list of deposition designations that it
     3   intends to introduce by 12:00 p.m. (Noon) three calendar days before the designations
     4   are intended to be used in court. The other party will provide counter-designations
     5   and objections by 9:00 p.m. three calendar days before the designations are intended to
     6   be used in court. The originally designating party will provide any rebuttal
     7   designations and objections to counter-designations by 8:00 a.m. two calendar days
     8   before the designations are intended to be used in court. The parties agree not to
     9   designate attorney colloquy. The parties will meet and confer on any objections by
    10   7:00 p.m. two calendar days before the designations are intended to be used in court,
    11   where each side will make a good faith effort to resolve objections. If good faith
    12   efforts to resolve the objections fail, the objecting party shall file with the Court
    13   written objections no later than 8:00 a.m. one calendar day before the designations are
    14   intended to be used in court, with a response due no later than 3:00 p.m. one calendar
    15   day before the designations are intended to be used in court.
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     1                 THE FOREGOING IS SO STIPULATED AND AGREED TO:
     2          Dated: October 25, 2018
     3
     4   FISH & RICHARDSON P.C.                    MORRISON & FOERSTER LLP
     5
     6
         By: /s/ Christopher S. Marchese_____      By: /s/ Vincent J. Belusko
     7
     8        Attorneys for Plaintiffs, CARL              Attorneys for Defendants
              ZEISS, AG and ASML                          NIKON CORPORATION AND
     9        NETHERLANDS B.V.                            NIKON INC.
    10
    11
    12                                             SO ORDERED:

    13
    14                                               By:________________ _
                                                          Honorable R. Gary Klausner
    15
    16                                             Dated: ____, 2018__________________
    17
    18
    19
                         ATTESTATION PURSUANT TO L.R. 5-4.3.4(a)(2)(i)
    20       The filer attests that all other signatories listed, and on whose behalf the filing is
    21       submitted, concur in the filing’s content and have authorized the filing.

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         Case No. 2:17-cv-07083 RGK (MRWx)
         JNT STIP RE TRIAL DISCLOSURES
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